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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA




UNITED STATES OF AMERICA,                        )
                                                 )
        vs.                                      )        1:04-CR-74-SEB-KPF-08
                                                 )
DEWAYNE LUSTER,                                  )
                                                 )
                            Defendant.           )




                                         ENTRY

        The defendant’s request for amendment of judgment (dkt 19) is directed to the Entry
of June 18, 2010, denying his request that the assigned Article III judge recuse herself. This
request is based on his disagreement with the resolution of his motion for sentence
reduction. His disagreement with that ruling provides no greater basis for recusal than did
his earlier assertion based on the rulings in this case that the undersigned is biased. There
is a general presumption that a court acts according to the law and not personal bias or
prejudice. Withrow v. Larkin, 421 U.S. 35, 47 (1975). It has been held, not surprisingly, that
“judicial rulings alone almost never constitute a valid basis for a bias or partiality motion.”
Liteky v. United States, 510 U.S. 540, 555 (1994). Such rulings are proper grounds for
appeal, not for recusal. Id. "Bias cannot be inferred from a mere pattern of rulings by a
judicial officer, but requires evidence that the officer had it ‘in’ for the party for reasons
unrelated to the officer's views of the law, erroneous as that view might be". McLaughlin
v. Union Oil Co. of Calif., 869 F.2d 1039, 1047 (7th Cir. 1989). Conclusions, opinions, or
rumors are not sufficient. United States v. Sykes, 7 F.3d 1331, 1339 (7th Cir. 1993) (citing
United States v. Balistrieri, 779 F.2d 1191, 1199 (7th Cir. 1985)). A decision adverse to a
party--even one adverse on all of the issues raised--is not evidence of bias where that
decision is supported by the law and facts, as is the case here. See Gleason v. Welborn,
42 F.3d 1107, 1112 (7th Cir. 1994).

       Based on the foregoing, therefore, the defendant’s request amendment of judgment
(dkt 19) is denied.

        IT IS SO ORDERED.



                                                      _______________________________
Date:    08/10/2010
                                                       SARAH EVANS BARKER, JUDGE
                                                       United States District Court
                                                       Southern District of Indiana
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